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                             IN THE UNITED STATES DISTRICT COURT
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                                    FOR THE DISTRICT OF ARIZONA
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                                                                  No. CV-19-00481-TUC-JCH
14     A.I.I.L., et al.,
15                         Plaintiffs,
                                                          OPPOSITION TO PLAINTIFFS’ THIRD
16     v.                                                   MOTION TO HOLD ACTION IN
                                                                    ABEYANCE
17     Jefferson Beauregard Sessions, III, et al.,
18                         Defendants.
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             The Individual Defendants respectfully oppose Plaintiffs’ third motion to hold “this action
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     in abeyance” for sixty days. Dkt. 70 at 1. The Individual Defendants do not oppose Plaintiffs’
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     request to “hold in abeyance for a period of 60 days the United States’ pending motion to dismiss
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     the FTCA claims” Id. at 2. However, the Individual Defendants again oppose Plaintiffs’ request to
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     hold the individual-capacity claims against them in abeyance.
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             Courts deciding whether to issue a stay must weigh “competing interests,” including “the
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     possible damage which may result from the granting of a stay, the hardship or inequity which a
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     party may suffer in being required to go forward, and the orderly course of justice measured in
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     terms of the simplifying or complicating of issues, proof, and questions of law which could be
 1   expected to result from a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005)
 2   (quoting CMAX, Inc. v. Hall, 300 F.2d 265 (9th Cir. 1962)). “If there is even a fair possibility that
 3   the stay will work damage to someone else, the party seeking the stay ‘must make out a clear case
 4   of hardship or inequity.’” Percy v. United States, No. CV1602066PHXDGCDMF, 2016 WL
 5   7187129, at *2 (D. Ariz. Dec. 12, 2016). The party seeking the stay “bears the burden of proving
 6   that a stay is warranted.” Sierra Club, Hawaii Chapter v. City & Cty. of Honolulu, No. CV. 04-
 7   00463-DAE-BMK, 2007 WL 2694489, at *4 (D. Haw. Sept. 11, 2007).
 8              Prejudice to the Non-Moving Party
 9              Extended delay with respect to the resolution of the dispositive motion of the Individua l
10   Defendants, all former federal employees, pending settlement discussions between other parties
11   about a separate set of claims, is itself prejudice. The Supreme Court has made plain that an
12   individual officials’ entitlement to qualified immunity should be resolved “at the earliest possible
13   stage in litigation.” Pearson v. Callahan, 555 U.S. 223, 232 (2009) (quoting Hunter v. Bryant, 502
14   U.S. 224, 227 (1991) (per curiam)). Plaintiffs’ stay request would, if granted, needlessly delay a
15   decision on immunity and run afoul of the principles underlying the defense. For former federal
16   employees, who continue to have to spend time and energies inquiring about the status of this
17   lawsuit and disclosing the existence of this litigation where warranted, there are collateral
18   consequences to extending litigation which are themselves the sort of distraction and disincentive
19   to federal service qualified immunity is designed to prevent. See Harlow v. Fitzgerald, 457 U.S.
20   800, 814 (1982) (cataloging social costs that individual capacity damages actions against public
21   officers      entail);   H.     Allen    Black,     Balance,     Band-Aid,     or    Tourniquet:      The
22   Illusion of Qualified Immunity for Federal Officials, 32 Wm. & Mary L. Rev. 733, 751–52 (1991)
23   (“Such involvement may hamper defendants’ efforts to obtain loans, keep defendants from
24   disposing of certain real property, subject defendants to great personal and professional stress, and
25   force defendants to lose countless hours defending the suit.”). Significantly, the cases Plaintiffs
26   cite involving “[s]imilar requests” do not involve individual-capacity claims. Dkt. 70 at 2.
27              Plaintiffs first filed this lawsuit over two years ago, on October 3, 2019, and the Individua l
28   Defendants first moved to dismiss—based on personal jurisdiction, immunity, and special



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 1   factors—on February 14, 2020. If granted, Plaintiffs’ third request for a stay would delay even
 2   consideration of the Individual Defendants’ motion to dismiss until well over a year after that
 3   motion was fully briefed. Plaintiffs request an additional 60-day stay, even as to the Individua l
 4   Defendants, with no indication it will be their final request to hold this case in abeyance. As the
 5   Ninth Circuit has stressed, “general policy” favors “stays of short, or at least reasonable, duration.”
 6   Dependable Highway Exp., Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1067 (9th Cir. 2007); cf.
 7   Leyva v. Certified Grocers of Ca., Ltd., 593 F.2d 857, 864 (9th Cir. 1979) (“A stay should not be
 8   granted unless it appears likely the other proceedings will be concluded within a reasonable
 9   time. . . .”). Plaintiffs’ request for an opposed 60-day stay as to the Individual Defendants,
10   particularly following the prior opposed 60-day stays, is neither short nor reasonable.
11            Hardship to Plaintiffs
12            At the same time, Plaintiffs would face no similar hardship were the fully briefed claims
13   against the Individual Defendants to go forward. Indeed, there are no present deadlines to stay as
14   to the individual-capacity claims; the Individual Defendants’ motion to dismiss is ripe for decision.
15   Thus, Plaintiffs’ purported need to “focus” on settlement negotiations, Dkt. 70 at 2, is without
16   merit.
17            Orderly Course of Justice
18            The Individual Defendants are not engaged in settlement negotiations in this case. They
19   have asserted and continue to assert numerous, independent grounds for dismissing this action.
20   These defenses include (1) challenging this Court’s personal jurisdiction over any of the fifteen
21   individually named Defendants, (2) the “antecedent” issue of whether Plaintiffs even have a cause
22   of action to pursue their constitutional claims, Hernandez v. Mesa, 137 S. Ct. 2003, 2006 (2017),
23   and (3) the Individual Defendants’ entitlement to qualified and absolute immunity. These defenses
24   are not available to the United States and can be resolved without reference to the briefing on the
25   United States’ motion to dismiss.
26            In their previous reply to the Individual Defendants’ opposition to Plaintiffs’ first motion
27   to stay, Plaintiffs asserted that a stay would benefit judicial economy because of a purported
28   overlap in the legal issues. According to Plaintiffs, the Individual Defendants “argued that one



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 1   reason to deny a Bivens remedy in this case is because of the presumed availability of a FTCA
 2   [Federal Tort Claims Act] remedy.” Dkt. 65 at 2. Plaintiffs are mistaken. As to the former, the
 3   Individual Defendants have contended that the availability of the FTCA is an alternative process
 4   that in combination with other special factors forecloses Plaintiffs’ Bivens claims. That argument
 5   applies with full force irrespective of the outcome of the United States’ motion to dismiss the
 6   FTCA claims in this particular case. See Dkt. 61 at 14 n.16 (“[T]he special factors inquiry focuses
 7   on whether an alternative process exists, not whether a particular plaintiff may prevail.”); see also
 8   Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 69 (2001) (“So long as the plaintiff had an avenue for
 9   some redress, bedrock principles of separation of powers foreclosed judicial imposition of a new
10   substantive liability.”). 1
11           The legal issues raised in the Individual Defendants’ motion to dismiss are not only distinct
12   from those against the United States under the FTCA, they are also clear-cut and should result in
13   dismissal of all the claims against the Individual Defendants. Indeed, courts have addressed the
14   very same legal questions as to most of these same defendants and have all dismissed the claims
15   at the Rule 12 stage. See Mejia-Mejia v. U.S. Immigr. & Customs Enf’t, No. CV 18-1445 (PLF),
16   2019 WL 4707150, at *4 (D.D.C. Sept. 26, 2019) (declining to extend Bivens to a family separation
17   challenge against two of the same defendants); K.O. v. U.S. Immigr. & Customs Enf’t, 468 F. Supp.
18   3d 350, 367 (D.D.C. 2020) (appeal filed) (declining to extend Bivens to a family separation
19   challenge against eleven of the same defendants); see also Pena Arita v. United States, 470 F.
20   Supp. 3d 663, 698 (S.D. Tex. 2020) (dismissing individual-capacity claims against line level
21   defendants in family separation context). No new legal ground need be broken to dismiss this case.
22   And even if settlement were to conserve some judicial resources, that “alone is insufficient to
23   support a grant of stay.” Sierra Club, 2007 WL 2694489, at *5.
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              1 In contrast, Plaintiffs argue that the Court should disregard the presence of the FTCA
27   entirely. Dkt. 54 at 23–24. In any event, no judicial efficiency would be gained by viewing the
28   briefing on the United States’ motion to dismiss in tandem with the briefing on the Individua l
     Defendants’ motion to dismiss.


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 1   Dated this 15th day of October, 2021.
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 9   /s/ Paul Quast
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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that a true copy of the above document was served upon the attorney of
 3   record for each other party by means of the District Clerk’s CM/ECF electronic filing system on
 4   October 15, 2021.
 5
                                                /s/ Paul Quast
 6                                              Paul Quast
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